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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

TYLER DIVISION
UNITED STATES OF AMERICA §
§ No. 6:17CR39-05
V. 8
§
HUGO PINEDA §

PLEA AGREEMENT

The defendant, Hugo Pineda, the defendant’s attorney, Reynaldo Morin, and the
United States Attorney for the Eastern District of Texas agree to the following, pursuant
to Fed. R. Crim. P. 11(c)(1)(C):

1. RIGHTS OF THE DEFENDANT: The defendant understands that accused
individuals have the following rights, among others:

a. to plead not guilty;
b. to have a trial by jury;
c. to have guilt proved beyond a reasonable doubt;

d. to confront and cross-examine witnesses and to call witnesses in
defense; and

e. to not be compelled to testify against oneself.

2. WAIVER OF RIGHTS AND PLEA OF GUILTY: The defendant waives these
rights and agrees to enter a plea of guilty to Count 11 of the indictment, which charges
violations of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2, Manufacture and Possession with
Intent to Manufacture and Distribute 100 or more Marihuana Plants and Aiding and

Abetting. The defendant understands the nature and elements of the crime to which guilt

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is admitted and agrees that the factual statement the defendant has signed is true and will

be submitted as evidence.

3. SENTENCE: The minimum and maximum penalties the Court can impose
include:
a. imprisonment for a period not less than 5 years, and not to exceed 40
years;
b. a fine not to exceed $5,000,000, or twice any pecuniary gain to the

defendant or loss to the victim(s);

C. a term of supervised release of at least 4 years, which may be
mandatory under the law and will follow any term of imprisonment.
If the defendant violates the conditions of supervised release, the
consequence could be imprisonment for the entire term of supervised

release;

d. a mandatory special assessment of $100.00, which must be paid by
cashier’s check or money order to the United States District Clerk;
and

e. costs of incarceration and supervision.

4, AGREEMENT PURSUANT TO FED. R. CRIM. P. 11(C)(1)(C): The parties

agree that the following stipulations yield the appropriate sentence in this case:

a. The defendant will be sentenced to a term of imprisonment for 70 to
98 months.

c. The defendant will pay the mandatory special assessment of
$100.00.

C. The Court will determine and impose any fine, community service,

or term of supervised release deemed appropriate.

The parties understand that the Court may decline to accept this agreement. If the

Court does not accept the agreement, the defendant will be given the opportunity to

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withdraw from the plea.

5. IMMIGRATION STATUS CONSEQUENCES: Defendant recognizes that
pleading guilty to a crime may affect the immigration status of people who are not
citizens of the United States. Under federal law, a broad range of crimes are removable
offenses. Removal and other immigration consequences are the subject of a separate
proceeding, however, and the defendant understands that no one, including the
defendant’s attorney or the district court, can predict with certainty the effect this
conviction will have on the defendant’s immigration status. The defendant wants to
plead guilty regardless of any immigration consequences that the plea may entail, even if

the consequence is automatic removal from the United States.

6. GOVERNMENT’S AGREEMENT: The United States Attorney for the Eastern
District of Texas agrees not to prosecute the defendant for any additional non-tax related
criminal charges based upon the conduct underlying and related to the defendant’s plea of
guilty. After sentencing, the government will dismiss any remaining criminal charges
against this defendant.

7. VIOLATION OF AGREEMENT: The defendant understands that upon
violation of any provision of this agreement or any Court order or rule, or if the guilty
plea pursuant to this agreement is vacated or withdrawn, the government will be tree
from its obligations under this agreement and may prosecute the defendant for all
offenses of which it has knowledge. In such event, the defendant waives any objections
based upon delay in prosecution.

8. VOLUNTARY PLEA: This plea of guilty is freely and voluntarily made and

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is not the result of force, threats, or promises other than those set forth in this agreement.

9. WAIVER OF RIGHT TO APPEAL OR OTHERWISE CHALLENGE SENTENCE:
Except as otherwise provided in this paragraph, the defendant waives the right to appeal
the conviction, sentence, fine, order of restitution, or order of forfeiture in this case on all
grounds. The defendant further agrees not to contest the conviction, sentence, fine, order
of restitution, or order of forfeiture in any post-conviction proceeding, including, but not
limited to, a proceeding under 28 U.S.C. § 2255. The defendant, however, reserves the
right to appeal the failure of the Court, after accepting this agreement, to impose a
sentence in accordance with the terms of this agreement. The defendant also reserves the
right to appeal or seek collateral review of a claim of ineffective assistance of counsel.

10. WATVER OF RIGHT TO RECORDS: The defendant hereby waives all rights,
whether asserted directly or by a representative, to request or receive from any
department or agency of the United States any records pertaining to the investigation or
prosecution of this case, including without limitation any records that may be sought
under the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act, 5 U.S.C. §
552a.

11. | REPRESENTATION OF COUNSEL: The defendant has thoroughly reviewed
all legal and factual aspects of this case with defense counsel and is fully satisfied with
defense counsel’s legal representation. The defendant has received satisfactory
explanations from defense counsel concerning each paragraph of this plea agreement,
each of the defendant’s rights affected thereby, and the alternatives to entering a guilty

plea. After conferring with counsel, the defendant concedes guilt and has concluded that

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it is in the defendant's best interest to enter this agreement rather than proceeding to trial.

12. LIMITATIONS ON THIS AGREEMENT: This agreement is only binding on
the United States Attorney’s Office for the Eastern District of Texas and does not bind
any other federal, state, or local prosecuting authority. Nothing in this agreement shall be
construed to release the defendant from possible related or consequential civil liability to
any individual, legal entity, or the United States.

13. ENTIRETY OF AGREEMENT: This Plea Agreement consists of this
document and the sealed addendum required by Local Rule CR-49. References in this
document to “agreement” or “Plea Agreement” refer to both this document and the sealed
addendum. The defendant, the defendant’s attorney, and the government acknowledge
that this agreement is a complete statement of the parties’ agreement in this case. It
supersedes all other plea agreements and may not be modified unless the modification is

in writing and signed by all parties. No other promises have been made or implied.

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Respectfully submitted,

BRIT FEATHERSTON
ACTING U.S. ATTORNEY

Dated: ML, L200 /1t11Jr77-U
Nathaniel C. Kummerfeld
Assistant United States Attorney

I have read or had read to me this plea agreement and have carefully reviewed
every part of it with my attorney. | fully understand it and voluntarily agree to it.

Dated: || ~29 -|F- L).0.P.
Hugo Pineda
Defendant

I am counsel for the defendant. | have carefully reviewed every part of this plea
agreement with the defendant. To my knowledge and belief, my client’s decision to
enter into this plea agreement is an informed and voluntary one.

Dated: Ab, / 5. Loi7 LOE
‘ ‘Reynaldo Morin
Attorney for Defendant

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